Case 2:03-cr-00019-JRG-RSP           Document 1015          Filed 06/28/07    Page 1 of 2 PageID #:
                                            2323



                              UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 vs.                                            §                     2:03-CR-19(25)
                                                §
 CARL CHANCE                                    §

                                     MEMORANDUM ORDER

        The above-entitled and numbered criminal action was heretofore referred to United States

 Magistrate Judge Chad Everingham pursuant to 28 U.S.C. § 636. The report of the Magistrate Judge

 which contains his proposed findings of fact and recommendations for the disposition of such action

 has been presented for consideration. No objections were filed to the Report and Recommendation.

 The court is of the opinion that the findings and conclusions of the Magistrate Judge are correct.

 Therefore, the court hereby adopts the report of the United States Magistrate Judge as the findings

 and conclusions of this court. Accordingly, it is hereby

        ORDERED that the defendant’s plea of true to all of the allegations as set forth in the

 government’s petition be ACCEPTED. It is further

        ORDERED that the defendant’s supervised release be REVOKED. Based upon the

 defendant’s plea of true to the allegations, the court finds the defendant violated his conditions of

 supervised release. It is further

        ORDERED that the defendant be committed to the custody of the Bureau of Prisons to be

 imprisoned for a term of twelve (12) months, with no term of supervised release to follow such term

 of imprisonment.




                                                    1
Case 2:03-cr-00019-JRG-RSP      Document 1015        Filed 06/28/07   Page 2 of 2 PageID #:
                                       2324



         SIGNED this 28th day of June, 2007.



                                               __________________________________________
                                               T. JOHN WARD
                                               UNITED STATES DISTRICT JUDGE




                                               2
